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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

    MARIE JOSEPH,                               :      Case No. 1:16-cv-465
        Plaintiff,                              :
                                                :      Judge Timothy S. Black
    vs.                                         :
                                                :
    RONALD JOSEPH, et al.,                      :
        Defendants.                             :

                      ORDER SETTING BRIEFING SCHEDULE
                  FOR PLAINTIFF’S CORPORATE RECORDS CLAIM

          This case is before the Court on Plaintiff Marie Joseph’s remaining claim against

Defendant Ronald Joseph, Sr., Count Two of the Complaint, for access to corporate

records. 1 (Doc. 1 at ¶¶ 81-83). Marie’s claim is premised on Ron, Sr.’s alleged failure to

respond to requests from Marie seeking records of Columbia Oldsmobile Company

(“Corporate Records Requests”). (See Doc. 226, Exs. A-D).

          This Court previously bifurcated Marie’s corporate records claim from her breach

of fiduciary duty claim that was tried to the jury. The Court bifurcated these claims

because, inter alia, Marie’s equitable claim for corporate records must be decided by the

Court, and evidence of her extrajudicial attempts to obtain documents from Columbia

was likely to confuse the jury.

          The jury returned a verdict for Ron, Sr. on Marie’s claim for breach of fiduciary

duty.



1
 As explained in numerous prior orders, Plaintiff and Defendant share the same last name. To
avoid confusion, the Court will refer to each party by their first names.
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       On November 6, 2018, the Court put on an Order requiring the parties to confer

and to file a proposal for resolving Marie’s corporate records claim, including (1) a

statement why the parties cannot settle this claim among themselves, (2) a statement as to

what additional briefing, if any, is required; (3) a briefing schedule, if applicable, and (4)

a statement as to whether Marie’s corporate records claim can be decided on the briefs or

whether a bench trial is required. (Doc. 215 at 2).

       On November 27, 2018, the parties submitted a joint filing as required. (Doc.

226). The gist of the parties’ competing positions is this: Marie requests a bench trial and

no additional briefing, and Ron, Sr.—who believes Marie has already received all of the

corporate records she is entitled to through discovery in this lawsuit—requests briefing

on the issue and no bench trial.

       The Court sets the following briefing schedule:

       By March 20, 2019, Ron, Sr. shall docket a pleading stating what documents

Columbia has that are responsive to Marie’s Corporate Records Requests that have not

been produced in discovery and an explanation for why these documents have not been

produced in response to Marie’s Corporate Records Requests.

       By April 17, 2019, Marie shall docket a responsive pleading explaining which

documents identified by Ron, Sr. she believes she is entitled to pursuant to her Corporate

Records Requests and why, and additionally, why a trial is required to resolve the issue(s)

presented.




                                              2
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        This case set is for a status conference by telephone on May 14, 2019 at 10:30

a.m., at which time the Court will address the parties’ submissions and set this case for a

bench trial, if it decides one is appropriate. 2

        The Court feels compelled to make a brief statement in conclusion. Over the past

two years, the Court has conducted numerous informal discovery conferences prompted

by counsel’s inability to agree on discovery issues, ruled on several motions to compel,

and addressed multiple discovery issues and objections throughout the entirety of the

two-week jury trial. Previously, the Court was so unimpressed with the parties’ ability to

meet and confer regarding basic discovery issues it ordered them to do so in the presence

of the undersigned’s law clerk. ENOUGH. Ohio Revised Code § 1701.37(C) gives

shareholders like Marie the right to inspect a corporation’s records. The parties, and the

experienced attorneys representing them, should be able to ensure Marie gets the records

she is entitled to without a second trial.

        IT IS SO ORDERED.

Date:          2/15/19                                      /s/ Timothy S. Black
                                                            Timothy S. Black
                                                            United States District Judge




2
 COUNSEL SHALL CALL: 1-888-684-8852; Access code: 8411435; Security code: 123456,
and wait for the Court to join the conference.
                                                   3
